[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION
By his petition filed on October 16, 1996, the above cited petitioner seeks a writ of habeas corpus. The petition alleged that on July 7, 1994, the petitioner received a total effective sentence of eight years in the custody of the Commissioner of Correction, and that he remains illegally confined under this sentence. The gist of the petition is that the Commissioner of Correction has failed to credit pretrial jail credit to the petitioner.
The records of the Department of Correction show that the petitioner completed his sentence and was discharged from custody on February 23, 2000. The court is unable to provide the petitioner with the relief CT Page 12137 sought as the issue is moot. Accordingly, the petition is dismissed.
Terence A. Sullivan, Judge